        Case 1:23-cv-03122-MLB Document 34-2 Filed 10/06/23 Page 1 of 3




                     IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF
                                   GEORGIA
                              ATLANTA DIVISION

MARK WALTERS,                                   )
           Plaintiff,                           )
                                                )
             v.                                 )     No. 1:23-CV-03122-MLB
                                                )
OPENAI, L.L.C.,                                 )
                                                )
                    Defendant.                  )

                          DECLARATION OF JOHN MONROE

John Monroe declares as follows under penalty of perjury:

   1. I am at least 18 years of age and otherwise competent to make this declaration.

   2. I am the sole legal counsel for Plaintiff Mark Walters in this action.

   3. On July 17, 2023, I emailed counsel for Defendant and told him the removal

      documents contained insufficient information from which a determination of

      diversity could be made.

   4. After I filed the response to Defendant’s response to the Court’s first order to show

      cause, Defendant’s counsel called me and said he thought the case would be

      remanded.

   5. I spent a total of 21 hours on this case after removal, with such hours all being

      necessitated by the removal. Excerpts of my time records pertaining to time spent

      on the case after removal, and necessitated by removal, are attached as an Exhibit.
                                               1
        Case 1:23-cv-03122-MLB Document 34-2 Filed 10/06/23 Page 2 of 3



   6. These hours were reasonably necessary for this case.

   7. I have been practicing law for over 30 years.

   8. My hourly rate is $400 per hour.

   9. This is the rate I charge clients that I charge on an hourly basis.

   10.The rate is reasonable and at or below the market for attorneys practicing litigation

      with my level of experience.

   11.I have extensive experience litigating cases in trial and appellate courts at the state

      and federal levels.

   12.In September of 2023, I settled a fee award in Oglethorpe County, Georgia with

      opposing counsel at a rate of $400 per hour.

   13.In March of 2023, my hourly rate of $400 was found to be reasonable in a civil

      rights case against the State of Wisconsin by the Circuit Court of Brown County,

      Wisconsin, which awarded fees based on that rate.

I declare under penalty of perjury that the foregoing statements are true.


                                              ______/s/ John R. Monroe______________
                                               John R. Monroe
                                               John Monroe Law, P.C.
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                                               Dawsonville, GA 30534
                                               State Bar No. 516193
                                               678-362-7650
                                               jrm@johnmonroelaw.com
                                               Attorneys for Plaintiff




                                              2
       Case 1:23-cv-03122-MLB Document 34-2 Filed 10/06/23 Page 3 of 3



Date        Activity                                                       Time
7/17/2023   Review notice of removal and accomanying docs                         1.3
7/17/2023   Review standing order of Judge MLB                                    1.2
7/17/2023   Draft and file certificate of interested persons                      0.4
7/17/2023   Correspondence with opposing counsel                                  0.2
7/21/2023   Review notice of LLC membership                                       0.3
7/21/2023   Review motion to dismiss and accompanying docs                        3.7
7/22/2023   Call with client to discuss MTD                                       1.1
7/25/2023   Correspondence with opposing counsel                                  0.2
7/26/2023   Correspondence with opposing counsel                                  0.2
7/26/2023   Draft and file motion for extension of time to file response          0.4
7/26/2023   Review order granting extention                                       0.2
 8/4/2023   Correspondence with opposing counsel                                  0.2
 8/5/2023   Correspondence with opposing counsel                                  0.1
 8/6/2023   Draft joint discovery plan                                            0.6
 8/7/2023   Correspondence with opposing counsel                                  0.2
 8/7/2023   Review motion for ext to file joint report                            0.2
 8/7/2023   Review order to show cause re diversity                               0.1
 8/7/2023   Review orders granting PHV                                            0.2
 8/7/2023   Correspondence with client re diversity                               0.4
 8/7/2023   Rule 26f conference                                                   0.6
 8/8/2023   Correspondence with opposing counsel                                  0.2
 8/8/2023   Review order granting extention                                       0.2
8/21/2023   Correspondence with opposing counsel                                  0.2
8/21/2023   Review Def response to order to show cause                            0.7
8/21/2023   Draft and file response to response to order to show cause            0.8
8/21/2023   Review Def Initial Disclosures                                        0.5
8/22/2023   Draft and serve initial disclosures                                   0.9
 9/7/2023   Correspondence with opposing counsel                                  0.1
 9/7/2023   Call with opposing counsel                                            0.2
 9/7/2023   Review Joint Report                                                   0.3
 9/7/2023   Review order on joint report                                          0.2
 9/8/2023   Correspondence with opposing counsel                                  0.2
9/14/2023   Correspondence with opposing counsel                                  0.3
9/22/2023   Review 2nd order to show cause                                        0.2
9/22/2023   Meet with client re diversity and MTD                                 1.2
10/5/2023   Correspondence with opposing counsel                                  0.1
10/6/2023   Draft and file motion for fees on remand                              2.9




                                                                                  21

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